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3    Telephone: (916) 498-9871
4    Attorney for Defendant
     KHAMLE KEOVILAY
5
                           IN THE UNITED STATES DISTRICT COURT
6
                         FOR THE EASTERN DISTRICT OF CALIFORNIA
7
8    UNITED STATES OF AMERICA,        )
                                      )     Cr.S. 09-222-GEB
9                      Plaintiff,     )
                                      )     STIPULATION AND ORDER
10               v.                   )
                                      )
11   KHAMLE KEOVILAY, et al.,         )     DATE: March 15, 2013
                                      )     TIME: 9:00 a.m.
12                     Defendants.    )     JUDGE: Hon. Garland E. Burrell
                                      )
13   __________________________       )
14
15          It is hereby stipulated and agreed to by the United States of
16   America through TODD D. LERAS, Assistant United States Attorney,
17   defendant, KHAMLE KEOVILAY, by and though his counsel, DENNIS S. WAKS,
18   defendant, DAVID CHENG by and through his attorney, ALICE W. WONG,
19   defendant MINGH THAM, by and through his attorney, MICHAEL B. BIGELOW,
20   defendant DUNG NGUYEN, by and through his attorney, MICHAEL D. LONG,
21   SANG HIN SAELEE, by and through his attorney, OLAF W. HEDBERG,
22   defendant LONG NGUYEN, by and through his attorney, CHRISTOPHER H.
23   WING, and defendant TUAN DAO, by and through his attorney, KEN GIFFARD,
24   that the status conference set for Friday, February 15, 2013, be
25   continued to a status conference on Friday, March 15, 2013, at 9:00
26   a.m.
27          This continuance is being requested because defense counsel needs
28   additional time to prepare, to review discovery, and to interview
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1    witnesses.   The parties have received a large amount of discovery,
2    including Title III documents.
3         Furthermore, the parties stipulate and agree that the interest of
4    justice served by granting this continuance outweighs the best interest
5    of the public and the defendants in a speedy trial.          (18 U.S.C.
6    §3161(h)(7)(A)).
7         Speedy trial time is to be excluded from the date of this order
8    through the date of the status conference set for March 15, 2013,
9    pursuant to 18 U.S.C. § 3161 (h)(7)(B)(iv) [reasonable time to prepare]
10   (Local Code T4).
11                                     Respectfully submitted,
12   DATED: February 11, 2013          /s/ Dennis S. Waks
13                                     DENNIS S. WAKS
                                       Attorney for Defendant
14                                     KHAMLE KEOVILAY
15
                                       /s/ Dennis S. Waks for
16
                                       ALICE W. WONG, Attorney for
17                                     DAVID CHENG
18
                                       /s/ Dennis S. Waks for
19
                                       MICHAEL B. BIGELOW, Attorney for
20                                     MINH THAM
21
                                       /s/ Dennis S. Waks for
22
                                       MICHAEL D. LONG, Attorney for
23                                     DUNG NGUYEN
24
                                       /s/ Dennis S. Waks for
25
                                       OLAF W. HEDBERG, Attorney for
26                                     SANG HIN SAELEE
27                                     /s/ Dennis S. Waks for
28                                     CHRISTOPHER H. WING, Attorney for
                                       LONG NGUYEN

                                             2
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1                                         /s/ Dennis S. Waks for
2                                         KEN GIFFARD, Attorney for
                                          TUAN DAO
3
4                                         BENJAMIN B. WAGNER
                                          United States Attorney
5
6    DATED: February 11, 2013             /s/ Dennis S. Waks for
7                                         TODD D. LERAS
                                          Assistant U.S. Attorney
8
                                          O R D E R
9
           Based on the stipulation of the parties and good cause appearing
10
     therefrom, the Court hereby finds that the failure to grant a
11
     continuance in this case would deny defense counsel reasonable time
12
     necessary for effective preparation, taking into account the exercise
13
     of due diligence.       The Court specifically finds that the ends of
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     justice served by the granting of such continuance outweigh the
15
     interests of the public and the defendants in a speedy trial.             Based on
16
     these findings and pursuant to the stipulation of the parties, the
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     Court hereby adopts the stipulation of the parties in its entirety as
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     its order.     Time is excluded from computation of time within which the
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     trial of this matter must be commenced beginning from the date of the
20
     stipulation through and including March 15, 2013, pursuant to 18 U.S.C.
21
     §   3161(h)(7)(A) and (B)(iv) [reasonable time for defense counsel to
22
     prepare] and Local Code T4.        A new status conference date is hereby set
23
     for March 15, 2013, at 9:00 a.m..
24
25   Dated:     February 12, 2013

26
27                                        GARLAND E. BURRELL, JR.
                                          Senior United States District Judge
28


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